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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                 §
                                                       §
PREFERRED READY-MIX LLC,                               §             CASE NO. 21-33369
                                                       §
        Debtor.                                        §                      Chapter 11

                                THIRD AMENDED BALLOT TALLY

       Preferred Ready-Mix LLC (the “Debtor”), submits the following amended tally of Ballots
received in connection with confirmation of its Plan of Reorganization:

        Class 1           Allowed Secured Claim of BankDirect Capital Finance.

                                   No votes received.

        Class 1A          Allowed Secured Claim of Ag Barn.

                          AG Barn Management, LLC voted to accept the Plan. The amount of AG
                          Barn Management, LLC’s secured claim is $10,833.79.

                                   Class 1A voted to accept the Plan.

        Class 1B          Allowed Secured Claim of Wayne C. Tyson.

                          Wayne C. Tyson voted to reject the Plan. The amount of Wayne C. Tyson’s
                          claim is $19,097.83.

                                   Class 1B voted to reject the Plan.1

        Class 2           Allowed Secured Claim of FundThrough USA, Inc.

                                   No votes received.


1
  Counsel for Wayne Tyson indicated that he will change his vote to an acceptance of the Plan at the confirmation
hearing.
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           Class 3           Allowed General Unsecured Claims, excluding Insiders.

                             AG Barn Management, LLC voted to accept the Plan. The amount of AG
                             Bar Management, LLC’s claim is $17,355.82.

                             Con-Tech Manufacturing, Inc. voted to accept the Plan. The amount of
                             Con-Tech Manufacturing, Inc.’s claim is $13,287.66.2

                             Texcon Ready Mix, Inc. voted to accept the Plan. The amount of Texcon
                             Ready Mix, Inc.’s claim is $433,881.01.

                                      Class 3 voted to accept the Plan.

           Class 4           Allowed Unsecured Claims of Insiders.

                             Matthew W. Tyson voted to reject the Plan. The amount of Matthew W.
                             Tyson’s claim is $54,386.53

                                      Class 4 voted to reject the Plan.3

           Class 5           Allowed Equity Interest Holders.

                                      No votes received.

           Dated: February 22, 2022.

                                                                 Respectfully submitted,

                                                                   /s/ Joyce W. Lindauer
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3
    Matthew Tyson is an insider as a prior owner of the business and as such should be counted in Class 4.
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 22, 2022, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF system upon the parties
listed below.

Robert W Berleth on behalf of Attorney Robert Berleth
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Hector Duran, Jr on behalf of U.S. Trustee US Trustee
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                                                      /s/ Joyce W. Lindauer
                                                    Joyce W. Lindauer




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